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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK


ULKU ROWE,

                         Plaintiff,

                 v.                      Case No. 1:19-cv-08655 (LGS)

GOOGLE LLC,

                         Defendant.




             PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION
              TO DEFENDANT’S MOTION IN LIMINE TO EXCLUDE
               EVIDENCE OF OTHER EMPLOYEE COMPLAINTS
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                                     Preliminary Statement

       Defendant seeks to exclude all evidence concerning other employees’ complaints of

alleged unfair treatment by Google, including but not limited to: (1) Haggan et al. v. Google

LLC, Case No. 518739/2022 (N.Y. Sup. Ct.) (“Haggan”); (2) Ellis v. Google LLC, Case No.

CGC-17-561299 (Cal. Sup. Ct.) (“Ellis”); (3) employee protests; and (4) any internal complaint

of discrimination or unfair treatment by Google, on the bases that such evidence is hearsay

and/or more prejudicial than relevant. As described below, the limited evidence of other

employee complaints Plaintiff seeks to introduce is probative and admissible.1

                                           Argument

       A. Evidence of the Existence of the Haggan and Ellis Complaints Is Relevant to
          Issues Concerning Google’s Intent.

       Haggan et al. v. Google LLC, Case No. 518739/2022 (N.Y. Sup. Ct.) (“Haggan”) and

Ellis v. Google LLC, Case No. CGC-17-561299 (Cal. Sup. Ct.) (“Ellis”) are two recent class

action matters asserting claims that Google systematically under-leveled and underpaid women.

(the “Equal Pay Suits”). While Ms. Rowe was not part of the Ellis class, the court complaint in

that matter was filed just six months after she joined Google and two months before she raised

her first complaint of discrimination about her initial under-leveling at hire. Haggan is a New

York-based class action similarly involving complaints of under-leveling and underpayment by

women in Google’s New York office, the same office where Ms. Rowe worked. The existence of

the Equal Pay Suits is relevant evidence that Google does not actually undertake to ensure




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 Plaintiff can provide the referenced documents if the Court would like to review them in
connection with this Motion. We also note that, while protesting the admission of prior
complaints, Google acknowledges their relevance in its Proposed Jury Charge on punitive
damages (See Joint Proposed Jury Charge at 55, filed December 5, 2023).
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woman and men are paid equally, as it claims in it defense, and also that Google knew it had a

problem and could have remedied Ms. Rowe’s under-leveling and underpayment, but did not.

       Whether evidence of an employer’s past discriminatory behavior toward other employees

is admissible is “fact based and depends on many factors.” Sprint/United Mgmt. Co. v.

Mendelsohn, 552 U.S. 379, 387-88 (2008). Evidence like the accounts of other women employed

at Google which reflect the same type of discrimination as Ms. Rowe alleges, made at the same

time that she raised complaints, is routinely considered by courts to be relevant evidence for

establishing an inference of discrimination. See Fed. R. Evid. 404(b)(2); see also Zubulake v.

UBS Warburg, LLC, 382 F. Supp. 2d 536, 544-45 (S.D.N.Y. 2005) (allowing testimony about

sex discrimination and bias against women other than plaintiff because “the testimony of other

employees about their treatment by the defendant is relevant to the issue of the employer’s

discriminatory intent.”); Ri Sau Chan v. N.Y. Downtown Hosp., No. 03 Civ. 3003, 2004 U.S.

Dist. LEXIS 16751, at *17 (S.D.N.Y. Aug. 19, 2004) (“Evidence relating to company-wide

practices may reveal patterns of discrimination against a group of employees, increasing the

likelihood that an employer’s offered explanation for an employment decision regarding a

particular individual masks a discriminatory motive”) (internal citations omitted). It likewise

should be admissible here.

       In addition, evidence of the Equal Pay Suits is relevant to Google’s knowledge of and

failure to remedy possible on-going gender discrimination concerns. Accordingly, Google’s

knowledge of and response to the Equal Pay Suits is relevant to the questions of whether Google

acted in good faith and/or with willful disregard, wanton negligence, or recklessness, or a

conscious disregard of the rights of others, as it relates to her claims for liquidated and punitive

damages under the NY EPL and NYCHRL, respectively. See N.Y. Lab. Law § 198(1-a); N.Y.C.



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Admin. Code § 8-502; Chauca v. Abraham, 89 N.E.3d 475, 481 (N.Y. 2017); Pollis v. New Sch.

for Soc. Rsch., 132 F.3d 115, 120 (2d Cir. 1997) (knowledge of pay disparity and failure to

remedy provided sufficient evidence to support the jury’s finding of a willful violation of the

Equal Pay Act); Duarte v. St. Barnabas Hosp., 341 F. Supp. 3d 306, 329 (S.D.N.Y. 2018)

(“pattern of discrimination that extended to other [] employees in [her] protected group” relevant

to determination of punitive damages award) (alterations in original); Cole v. Foxmar, Inc., No.

18 Civ. 220, 2022 U.S. Dist. LEXIS 50793, at *33 (D. Vt. Mar. 22, 2022) (evidence that

Defendant “had committed similar acts in the past against others” was relevant and “admissible

with regard to Plaintiff’s punitive damages claim.”). In this regard, Ms. Rowe does not offer

evidence of the Equal Pay Suits to establish other equal pay violations occurred, but to establish

that Google had notice of gender-based concerns similar to Ms. Rowe’s and, as the evidence will

show, Google did not take adequate steps to investigate or address her concerns. Accordingly,

this relevant evidence does not raise any hearsay concerns.2 Fed. R. Evid. 803.

       B. Evidence of “Protests” is Relevant and Admissible.

       Evidence of employee protests and the resulting 2018 Walkout are likewise relevant and

admissible. While Google claims the employee protests during the Walkout were with respect to

sexual harassment, documents posted internally at Google and circulated by email in November

2018 demanded “a commitment [from Google] to end pay and opportunity inequity” and the

collection of data related to “relative promotion rates” and “under-leveling at hire” (P0001591),

the exact concerns Ms. Rowe raised during the same time period. This notice was posted and




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  The Court can properly instruct the jury as to the purpose for which this testimony is admitted
to avoid any prejudice. See, e.g., Soto v. Greiner, No. 02 Civ. 2129, 2002 U.S. Dist. LEXIS
13373, *36-37 (S.D.N.Y. July 24, 2002); King v. New York City Bd. Of Educ., No. 96 Civ. 2730,
2000 U.S. Dist. LEXIS 18709, *21-22 (S.D.N.Y. Dec. 19, 2000).
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circulated widely during the same time Google purported to be investigating Ms. Rowe’s

complaints about her initial under-leveling at hire. In response to the 2018 Walkout, Google’s

CEO further acknowledged that “[w]e recognize that we have not always gotten everything right

in the past and we are sincerely sorry for that. It’s clear we need to make some changes.” Sundar

Pichai, A note to our employees, Google Blog (Nov. 8, 2018), https://www.blog.google/inside-

google/company-announcements/note-our-employees/. The Walkout is thus further support for

the jury to conclude Google did not take adequate steps to address leveling and pay concerns. To

the extent the Walkout document references other concerns, such as ongoing sexual harassment

at Google, Plaintiff is willing to discuss with Defendant redactions of unrelated concerns.

       C. Evidence of Internal Gender and Pay Equity Complaints is Relevant and
          Admissible.

       In discovery, the Court ordered Defendant to produce complaints of discrimination

similar to those Ms. Rowe alleged in the New York office going back five years. Of the 51

complaints Google produced, Plaintiff seeks introduction of evidence concerning only one

complaint, GOOG-ROWE-00058542.R. In that complaint, made in or around December 2019, a

Level 6 female employee in Google Cloud- Financial Services raised complaints that she was

under-leveled and paid less than her male peers performing the same work. Following Google’s

investigation, it determined that the female employee would be releveled to a Level 7, backdated

to when she began in the role. (See GOOG-ROWE-00058542.R.) This evidence is relevant to

refute Google’s claim, captured in communications between Human Resources and Ms. Rowe’s

manager, Will Grannis, that “there [wa]s no process to revisit leveling decisions after hire,” once

Ms. Rowe raised concerns. (ECF No. 154 ¶ 68). From this conflicting evidence a jury could

permissibly infer that Google’s continued under-leveling of Ms. Rowe was discriminatory and/or

was done with the requisite intent to justify an award of liquidated and/or punitive damages. To

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the extent GOOG-ROWE-00058542.R contains hearsay, the only statements being offered for

their truth are admissions by Google, contemporaneously recorded in a business record, about

actions which it subsequently took, and why it did so. Thus, this complaint is admissible.

       D. Evidence of an Employee Complaint About Stuart Breslow is Relevant to the
          FSVL Promotion Claim.

       Plaintiff seeks introduction of evidence concerning a gender complaint made against

Stuart Breslow, the man whom Tariq Shaukat appointed to the FSVL role (while excluding Ms.

Rowe from consideration altogether). Mr. Shaukat was aware of the gender complaint against

Mr. Breslow at the time he appointed Mr. Breslow to the role. (GOOG-ROWE-P-00001200).

Accordingly, it is relevant, admissible evidence of Mr. Shaukat’s gender bias.

       Ms. Rowe and Mr. Breslow shared an assistant who raised complaints to Ms. Rowe and

HR in or around August 2018 that Mr. Breslow had made jokes about how much money Google

was paying him and also made statements like “next week, you’re mine” while smirking at her.

(GOOG-ROWE-00060592). Plaintiff does not seek to offer this evidence for the truth of the

matters asserted – that Mr. Breslow took these actions – but as evidence probative of Mr.

Shaukat’s state of mind when considering Mr. Breslow for the FSVL role. Specifically, Google

posits that Ms. Rowe’s lack of “Googleyness” – Google’s subjective term for whether someone

fits within its culture – is an alleged reason Google denied Ms. Rowe the FSVL position.

Evidence of Mr. Breslow’s lack of “Googleyness,” and Mr. Shaukat’s disregard of it, is evidence

of gender bias and gendered double-standards, as well as evidence that Google’s stated reasons

for denying Ms. Rowe the position are a pretext for discrimination.

       Accordingly, Plaintiff respectfully requests that the Court deny Defendant’s motion.

 DATED: New York, New York                          Respectfully submitted,
        December 5, 2022
                                                    /s/ Cara E. Greene

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